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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                                4:16MJ3020
      vs.
                                                                ORDER
OSCAR J. GARCIA,
MARILYN M. PRADO,
CRISTOBAL I. YUCUPICIO,
VICTOR M. AVALOS, and
CAROLINA B. LARA,
                   Defendants.


      Defendant Victor M. Avalos has moved to continue the preliminary hearing
currently set for March 22, 2016. (Filing No. 64). As explained in the motion, defense
counsel is not available during the current hearing setting. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Avalos’s motion to continue, (filing no. 64), is granted.

      2)     As to all defendants, the preliminary hearing of this case is set to
             commence before the undersigned in Courtroom 1, United States
             Courthouse, Lincoln, Nebraska, at 2:00 p.m. on March 31, 2016.

      3)     The court will prove call in instructions by separate order for any defendant
             on release and their counsel’s participation in the hearing.

      4)     Based upon the showing set forth in the defendant’s motion and the
             representations of counsel, the Court further finds that the ends of justice
             will be served by continuing the hearing; and that the purposes served by
             continuing the hearing date in this case outweigh the interest of the
             defendant and the public in a speedy trial. Accordingly,

             a.    As to all defendants, the additional time arising as a result of the
                   granting of the motion, the time between today’s date and March 31,
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                    2016, shall be deemed excludable time in any computation of time
                    under the requirements of the Speedy Trial Act, because although
                    counsel have been duly diligent, additional time is needed to adequately
                    prepare this case for trial and failing to grant additional time might result
                    in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

              b.    Failing to timely file an objection to this order as provided in the
                    local rules of this court will be deemed a waiver of any right to later
                    claim the time should not have been excluded under the Speedy Trial
                    Act.


              Dated this 17th Day of March, 2016.

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                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge




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